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 5   Attorneys for Plaintiff Arizona Board of Regents,
     for and on behalf of Arizona State University
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                         FOR THE DISTRICT OF ARIZONA

10       Arizona Board of Regents, a body
         corporate, for and on behalf of                 Case No. 2:20-CV-01638-DWL
11       Arizona State University,
12                                                       PLAINTIFF’S NOTICE AND
                            Plaintiff,                   REQUEST FOR ENTRY OF
13                                                       DEFAULT
        v.
14      John Doe aka “asu_covid.parties,” an
        individual, et al.
15
                            Defendants.
16
17
18            Pursuant to Fed. R. Civ. P. 55(a), Plaintiff Arizona Board of Regents, a body

19   corporate, for and on behalf of Arizona State University, (“ASU”) hereby provides notice

20   and requests that the Clerk enter the default of defendant John Doe aka “asu_covid.parties”

21   (“Defendant”). Rule 55(a) provides that “the clerk must enter the party’s default” when the

22   party’s failure to plead or otherwise defend is shown by affidavit or otherwise.

23            Defendant voluntarily appeared in this case on August 24, 2020 by filing its initial

24   Answer and Objection to TRO & Injunction and its related motions. See Doc# 13-15.

25            By Order dated August 27, 2020, the Court struck Defendant’s original answer and

26   ordered Defendant “to refile an appropriate answer.” See Doc# 16, p.1. The Court gave

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                                                         1
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 1   Defendant until September 4, 2020 by which to do so. Id. at 4. At no time since, has
 2   Defendant filed any answer or other responsive pleading or motion under Rule 12 of the
 3   Federal Rules of Civil Procedure. Having failed to answer or otherwise file any proper
 4   responsive pleading or motion by the date ordered by the Court, Defendant is now in default.
 5         Accordingly, ASU respectfully requests that the Clerk enter this default in accordance
 6   with Rule 55(a).
 7
 8   RESPECTFULLY SUBMITTED this 6th day of November 2020.
 9                                            By       /s/Sean Garrison
10                                            Glenn S. Bacal (AZ Bar No. 006812)
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                                              Fax: (480) 245-6231
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                                              Attorneys for Plaintiff Arizona Board of Regents,
17                                            for and on behalf of Arizona State University
18
19
                             CERTIFICATE OF FILING AND SERVICE
20
     I certify that on November 6, 2020, I electronically transmitted the attached document to the
21   Clerk’s Office using the CM/ECF System for filing and for transmittal of a Notice of
22   Electronic Filing to the John Doe defendant at pba-hater@protonmail.com.

23      /Sean D. Garrison/
     Sean D. Garrison
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